                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

 JOHNNY THOMAS ORTIZ II, et al.,

              Plaintiffs,
                                                     Civil Action No.: 5:24-cv-420
 v.

 NORTH CAROLINA STATE BOARD OF
 ELECTIONS, et al.,

              Defendants.


      PLAINTIFFS’ EMERGENCY MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiffs, Johnny Ortiz II, Jimmie

Rogers, Jr., and Weldon Murphy (collectively, “Plaintiffs”) respectfully move the Court on an

emergency basis to enter a preliminary injunction that directs Defendants North Carolina State

Board of Elections, Alan Hirsch, Jeff Carmon III, Stacy Eggers IV, Kevin N. Lewis, Siobhan

O’Duffy Millen, and Karen Brinson Bell (collectively, “Defendants”) to certify the petitions filed

by Justice For All (“JFA”) as sufficient to qualify JFA as a new political party in North Carolina’s

November 5, 2024 general election under N.C. GEN. STAT. § 163-96(a)(2). Plaintiffs further

request that the Court enjoin Defendants from enforcing N.C. GEN. STAT. § 163-98 against JFA,

insofar as that provision requires a new party to certify its candidates and the candidates to file a

notice of candidacy and application to change party affiliation, or take any other action, on or

before July 1, 2024. Finally, Plaintiffs request that the Court direct Defendants to take any and all

action necessary to ensure the inclusion of JFA’s duly nominated candidates on North Carolina’s




                                                 1

      Case 5:24-cv-00420-BO-BM             Document 8        Filed 07/22/24     Page 1 of 3
November 5, 2024 general election ballot. Given the impending election, Plaintiffs, ask that the

Court issue a decision as soon as possible, but no later than August 19, 2024.1

        In support of this Motion, Plaintiffs respectfully submit the accompanying Memorandum

of Law, as well as the following:

       Declaration of Johnny Ortiz II, attached hereto as Exhibit 1

       Declaration of Jimmie Rogers, Jr., attached hereto as Exhibit 2

       Declaration of Weldon Murphy, attached hereto as Exhibit 3.



        Respectfully submitted this the 22nd day of July, 2024.

                                              NELSON MULLINS RILEY &
                                              SCARBOROUGH LLP

                                              /s/ Phillip J. Strach
                                              Phillip J. Strach
                                              N.C. State Bar No. 29456
                                              Alyssa M. Riggins
                                              N.C. State Bar No. 52366
                                              Cassie A. Holt
                                              N.C. State Bar No. 56505
                                              301 Hillsborough Street, Suite 1400
                                              Raleigh, NC 27603
                                              Telephone: (919) 329-3800
                                              Facsimile: (919) 329-3779
                                              Phil.strach@nelsonmullins.com
                                              Alyssa.riggins@nelsonmullins.com
                                              Cassie.holt@nelsonmullins.com




1
 Plaintiffs calculated this date to allow for ballots to be printed ahead of the September 6, 2024
deadline by which absentee ballots must be available for voting. N.C. Gen. Stat. § 163-227.10.
This date is subject to change depending on additional printing information from the NCSBE,
and when the Democratic Party selects their candidates for President and Vice President.
                                                 2

        Case 5:24-cv-00420-BO-BM          Document 8        Filed 07/22/24        Page 2 of 3
                                 CERTIFICATE OF SERVICE

       I, Phillip J. Strach, hereby certify that I have this day electronically filed the foregoing with

the Clerk of Court using the CM/ECF system and have served the NCSBE Defendants via mail

and email.

       This the 22nd day of July, 2024.

                                               NELSON MULLINS RILEY &
                                               SCARBOROUGH LLP

                                               /s/ Phillip J. Strach
                                               Phillip J. Strach
                                               N.C. State Bar No. 29456




                                                  3

      Case 5:24-cv-00420-BO-BM             Document 8         Filed 07/22/24      Page 3 of 3
